     Case 1:25-cv-10676-BEM                    Document 90-5                 Filed 05/07/25   Page 1 of 7


From:             Trina Realmuto
To:               Larakers, Mary L. (CIV); Seamon, Matthew (CIV); Perez, Elianis (CIV)
Cc:               matt@nwirp.org; Anwen Hughes; Kristin Macleod-Ball
Subject:          RE: DVD v. DHS - PI Compliance
Date:             Wednesday, May 7, 2025 2:00:06 PM
Attachments:      image001.png


Hi Mary,

We have not heard back from you and have reason to believe our class members are
at imminent risk of deportation, or have been deported, in violation of the preliminary
injunction in this case. I am writing to notify you that we will be filing an emergency
motion for a temporary restraining order shortly.

Thank you,
Trina

               Trina Realmuto
               National Immigration Litigation Alliance
               617-819-4447 / trina@immigrationlitigation.org
               www.immigrationlitigation.org
               Facebook: NatlImmLitAlliance / LinkedIn




From: Larakers, Mary L. (CIV) <Mary.L.Larakers@usdoj.gov>
Sent: Wednesday, May 7, 2025 10:10 AM
To: Trina Realmuto <trina@immigrationlitigation.org>; Seamon, Matthew (CIV)
<Matthew.Seamon2@usdoj.gov>; Perez, Elianis (CIV) <Elianis.Perez@usdoj.gov>
Cc: matt@nwirp.org; Anwen Hughes <hughesa@humanrightsfirst.org>; Kristin Macleod-Ball
<Kristin@immigrationlitigation.org>
Subject: RE: DVD v. DHS - PI Compliance

Hi Trina,

I will raise these concerns.

The protective order is with DHS; I expect to get it back today.

Thanks,
Mary

From: Trina Realmuto <trina@immigrationlitigation.org>
Sent: Wednesday, May 07, 2025 9:55 AM
To: Larakers, Mary L. (CIV) <Mary.L.Larakers@usdoj.gov>; Seamon, Matthew (CIV)
<Matthew.Seamon2@usdoj.gov>; Perez, Elianis (CIV) <Elianis.Perez@usdoj.gov>
Cc: matt@nwirp.org; Anwen Hughes <hughesa@humanrightsfirst.org>; Kristin Macleod-Ball
<Kristin@immigrationlitigation.org>
Subject: [EXTERNAL] DVD v. DHS - PI Compliance



                                                                                                  EXHIBIT E
    Case 1:25-cv-10676-BEM         Document 90-5      Filed 05/07/25     Page 2 of 7


Counsel,

As you may be aware, the media is reporting that the US intends to deport
noncitizens to Libya using military flights. See Trump Administration Live Updates:
U.S. Plans to Send Migrants to Libya, Officials Say,
https://www.nytimes.com/live/2025/05/07/us/trump-news#trump-libya-migrants. We
are also hearing rumors of military flights from Texas to Saudia Arabia.

If any DVD class members are slated to be on those flights, we ask that they be
removed from the manifest and not deported to a third country unless and until we
assess the written notices that were provided regarding notice and an opportunity to
ask for a reasonable fear interview.

We are gravely concerned that Defendants are NOT affording DVD class members
the protections to which they are entitled under the injunction. Attached are two
notices of third country removal that we have received. Both are deficient.

 First, the notice identifying the country of removal is only provided in English even
though the court specified that it must be in a language that the noncitizen can
understand.

Second, there is no indication on the form the person can request a reasonable fear
interview (RFI) and thus no meaningful opportunity to raise a fear of return. Unlike
prior government documents (referenced in n. 46 of the court’s order), there is no
language indicating how the person can raise that fear. We believe the form requires
an advisal that they may request an RFI and information about how to go about doing
so.

Finally, attaching the 2001 reasonable fear form is misleading and contains
inaccurate information for DVD class members. In at least 3 places, the form
addresses the need for the individual to explain their fear of persecution or torture in
their country of origin. Additionally, the form advises that passing a reasonable fear
interview will allow the person to appear before an immigration judge. However, the
injunction requires that OPLA move to reopen proceedings in that situation.

Please raise our concerns with your clients and let us know if they are willing to
address our concerns to ensure compliance with the injunction, as we do not believe
the forms attached comply with the Court's order.

In the interim, we request that DHS stop using this form(s) until it is corrected and,
again, that any DVD class member is not deported to a third country until we can
assess compliance with the preliminary injunction.

We hope to avoid taking this matter to the Court and would appreciate an expeditious
response to this email.

Separately, we will send a draft protective order later today for release of the O.C.G.
discovery on Monday, May 12. Please advise if you already have prepared a draft
    Case 1:25-cv-10676-BEM              Document 90-5        Filed 05/07/25   Page 3 of 7


and, if so, when you expect to send it.

Thanks,

Trina

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Case 1:25-cv-10676-BEM   Document 90-5   Filed 05/07/25   Page 4 of 7
Case 1:25-cv-10676-BEM   Document 90-5   Filed 05/07/25   Page 5 of 7
Case 1:25-cv-10676-BEM   Document 90-5   Filed 05/07/25   Page 6 of 7
Case 1:25-cv-10676-BEM   Document 90-5   Filed 05/07/25   Page 7 of 7
